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 9
10                                   UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13   UNITED STATES OF AMERICA,                        )   NO. CR 13-363-2 EMC
                                                      )
14           Plaintiff,                               )   UNITED STATES’ SENTENCING
                                                      )   MEMORANDUM FOR MERCEDEZ KIDD
15      v.                                            )
                                                      )
16   MERCEDEZ KIDD,                                   )   Sentencing Date: July 30, 2014
                                                      )   Time: 2:30 p.m.
17           Defendant.                               )   Judge: Hon. Edward M. Chen
                                                      )
18                                                    )
                                                      )
19

20                                             INTRODUCTION
21           Defendant Mercedez Kidd pleaded guilty to one count of conspiracy to commit sex trafficking,
22 in violation of 18 U.S.C. § 1594(c), in exchange for the government dismissing a substantive sex

23 trafficking count. For the reasons discussed below, the government recommends that Kidd be sentenced

24 to 60 months’ imprisonment, five years’ supervised release, and a $100 special assessment.

25                                                DISCUSSION
26 A.        Offense Conduct
27           The facts are well summarized in the PSR, and generally set forth in Paragraph 2 of the Plea
28 Agreement. Between April 6, 2013, and April 20, 2013, Kidd knowingly conspired with codefendant

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 1 Jordan Jackson to recruit, entice, harbor, transport, and maintain the victim, V.M., in reckless disregard

 2 of V.M.’s true age. As part of this conspiracy, Kidd admitted, she intended that V.M. would and did

 3 engage in commercial sex acts. During their initial meeting on April 6, 2013, Kidd agreed that she and

 4 Jackson both used physical force against V.M., that Jackson had sexual intercourse with V.M., and that

 5 Kidd and V.M. orally copulated each other. Kidd agreed that V.M. was 16 years old at the time of this

 6 offense.

 7          Kidd further agreed that Jackson used a computer or interactive computer service during the

 8 offense, in that he posted digital photographs that he took of V.M. on “MyRedbook.com,” to offer and

 9 solicit third parties to engage in prohibited sexual conduct with V.M. between April 6 and April 20,
10 2013. Kidd and Jackson kept at least some of the proceeds of these sex acts, including the $1,645.28

11 found in Kidd’s bag at the time of her arrest. Kidd also agreed that three cell phones were subject to

12 forfeiture because they were used to commit and facilitate sex trafficking, to take and post photographs

13 and to communicate with potential customers for V.M.

14 B.       The Plea Agreement

15          As part of the Plea Agreement, the parties agreed that the Sentencing Guidelines offense level

16 would be calculated as follows, except that the Kidd reserved her right to argue that the sentencing

17 enhancement for undue influence does not apply.

18                 a.      Base Offense Level, U.S.S.G. § 2G1.3(a)(4):                         24

19                 b.      Specific offense characteristics:

20                         Undue influence, U.S.S.G. § 2G1.3(b)(2)(B)                          +2

21                         Use of interactive computer service, U.S.S.G. § 2G1.3(b)(3)         +2

22                         Involved sex act, U.S.S.G. § 2G1.3(b)(4)                            +2

23                 c.      Acceptance of Responsibility:                                        -3
                           If I meet the requirements of U.S.S.G. § 3E1.1 through
24                         Sentencing, I may be entitled to a 3-level reduction.

25                 d.      Adjusted Offense Level with undue influence:                        27

26                         Adjusted Offense Level without undue influence:                     25

27          The parties further agree that Kidd would not ask for any other adjustment to, or reduction in, the

28 offense level or for a downward departure from the offense level and Guidelines range as determined by

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 1 the Court, except that she could argue for a downward departure for mitigating role under U.S.S.G.

 2 § 3B1.2, and for a variance from the Guidelines range based upon the factors enumerated in 18 U.S.C.

 3 § 3553(a), which the government could oppose.

 4 C.       Guidelines Calculation

 5          1.       Undue Influence

 6          The United States and Probation Office agree that the undue influence enhancement applies,

 7 yielding an Offense Level of 27.

 8          Section 2G1.3(b)(2)(B) requires a two-level increase if “a participant . . . unduly influenced a

 9 minor to engage in prohibited sexual conduct.” Application Note 3 offers this guidance:
10                   In determining whether subsection (b)(2)(B) applies, the court should closely
                     consider the facts of the case to determine wether a participant’s influence over
11                   the minor compromised the voluntariness of the minor’s behavior. The
                     voluntariness of the minor’s behavior may be compromised without prohibited
12                   sexual conduct occurring.

13 U.S.S.G. § 2G1.3(b)(2)(B), App. N. 3(B). Moreover, “there shall be a rebuttable presumption that

14 subsection (b)(2)(B) applies” where “a participant is at least 10 years older than the minor.” Id.

15 “[S]ome degree of undue influence can be presumed because of the substantial difference in age

16 between the participant and the minor.” Id.

17          As set forth in the PSR, the victim, V.M., would be expected to testify that when she arrived at

18 Jackson’s hotel room for a “date,” Jackson grabbed her arm, pulled her into the room, punched her in the

19 head, and then punched and kicked her repeatedly while she lay on the floor. The victim was coughing

20 up blood. PSR ¶ 8. Kidd then began hitting V.M. when Jackson ordered her to “take care of business.”

21 PSR ¶ 9. The victim would further testify that Jackson threatened to beat her up again if she did not do

22 as he told her, told her he had a gun, raped her, forced her to perform sex acts on him and on Kidd, and

23 forced her to use drugs. PSR ¶¶ 10, 13-14.

24          While Kidd denies some of these allegations, she admitted in her plea agreement that she “used

25 physical force” against V.M. (Plea Agr. ¶ 2), and that Jackson “demanded” that she “take care of

26 business” (PSR ¶ 9). Moreover, at the time Kidd conspired to traffic V.M. for sexual acts, he was eight

27 years older than V.M., while Jackson was nine years older. While shy of the ten-year difference

28 necessary to establish a rebuttable presumption of undue influence, eight and nine years are nonetheless

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 1 still quite a substantial age difference.

 2          The United States believes these undisputed facts adequately establish the existence of some

 3 degree of undue influence, thus warranting the two-level enhancement under § 2G1.3(b)(2)(B).

 4 Accordingly, the government does not intend to call V.M. to testify at the sentencing hearing.

 5          Applying the undue influence enhancement, Kidd’s total offense level is 27. At Criminal

 6 History Category IV, the advisory Guideline range is 70-87 months.

 7          2.       Mitigating Role

 8          Section 3B1.2 provides for a four-level downward adjustment for a “minimal” participant and a

 9 two-level downward adjustment for a “minor” participant. This adjustment is intended “for a defendant
10 who plays a part in committing the offense that makes him substantially less culpable than the average

11 participant.” U.S.S.G. § 3B1.2, App. N. 3(A). By her own admission, Kidd used physical force against

12 the victim in carrying out the offense, and retained some of the proceeds for herself. This conduct does

13 not render her “substantially less culpable” than Jackson. Accordingly, the United States opposes any

14 reduction for mitigating role.

15 D.       18 U.S.C. § 3553(a) Factors

16          Title 18, United States Code, Section 3553(a) requires the court to “impose a sentence sufficient,

17 but not greater than necessary” after considering “the nature and circumstances of the offense and the

18 history and characteristics of the defendant”; the need for the sentence to reflect the seriousness of the

19 offense, promote respect for the law, provide just punishment, afford adequate deterrence, protect the

20 public, and provide the defendant with training, medical care, or other correctional treatment; the

21 Sentencing Guidelines; and the need to avoid unwarranted sentencing disparity between similarly

22 situated defendants.

23          The government believes that a 60-month term of imprisonment is appropriate in light of the

24 § 3553(a) factors. Kidd’s offense – conspiring to traffic a minor for commercial sex acts – is extremely

25 serious. She admitted in her plea agreement that she did in fact traffic the victim, and that she used

26 physical force against the victim in the course of this offense. Such conduct warrants a heavy sentence.

27          However, the PSR also reveals that Kidd has a history of mental health problems, having been

28 diagnosed with Bi-Polar Disorder when she was 16 or 17, and that she was apparently regularly beaten

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 1 by boyfriend/codefendant Jackson, as well as by prior boyfriends. Kidd is now 25, clean and sober,

 2 appropriately medicated for her mental health problems, employed, and pregnant. The United States

 3 believe that these circumstances distinguish Kidd from Jackson, and warrant a sentence below the low

 4 end of the advisory guideline range.

 5          The government believes that a sentence of 60 months’ imprisonment and five years’ supervised

 6 release is necessary to reflect the seriousness of Kidd’s offense, provide just punishment, protect the

 7 public, promote Kidd’s respect for the law, and afford adequate deterrence, while taking into account the

 8 mitigating circumstances in Kidd’s personal history and characteristics.

 9                                               CONCLUSION

10          For these reasons, the United States respectfully requests this Court to sentence Kidd to 60

11 months’ imprisonment, five years’ supervised release, and a $25 special assessment.

12

13 DATED: July 18, 2014                                  Respectfully submitted,

14                                                       MELINDA HAAG
                                                         United States Attorney
15
                                                                 /s/
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                                                         HARTLEY M. K. WEST
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